                                                                                            10/1/2018

                           IN THE UNITED STATES DISTRICT COURT
                                                                                        S/J.Vasquez
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                  HARRISONBURG DIVISION


  TECHINT SOLUTIONS GROUP, LLC,                    )
                                                   )
           Plaintiff,                              )
                                                   )     Civil Action No. 5:18-cv-00037
  v.                                               )
                                                   )     By: Elizabeth K. Dillon
  BRANDON SASNETT,                                 )         United States District Judge
                                                   )
           Defendant.                              )

                                     ORDER STAYING CASE

         Counsel for non-party Archie Stafford filed an amended suggestion of bankruptcy on

  September 28, 2019, advising that, on September 20, 2018, defendant Brandon Sasnett filed a

  voluntary petition under Chapter 13 of the United States Bankruptcy Code in the United States

  Bankruptcy Court for the District of Maryland (Baltimore Division). The court has confirmed

  the same on the Maryland court’s public docket.

         Accordingly, pursuant to 11 U.S.C. § 362(a), it is hereby ORDERED that this action is

  STAYED in its entirety, nunc pro tunc as of the date of the filing of the bankruptcy petition,

  until such time as the bankruptcy matter has been resolved or the stay is otherwise lifted.

         As a result, the relief ordered in the court’s September 27, 2018 memorandum opinion

  and order, which was filed after the bankruptcy petition, is hereby suspended.

         The Clerk is directed to send copies of this order to all counsel of record.

         Entered: October 1, 2018.

                                                /s/ Elizabeth K. Dillon
                                                Elizabeth K. Dillon
                                                United States District Judge




Case 5:18-cv-00037-EKD-JCH Document 102 Filed 10/01/18 Page 1 of 1 Pageid#: 1672
